Case:23-40569-EJC Doc#:15 Filed:07/12/23 Entered:07/12/23 13:10:51                   Page:1 of 1


                      IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

 MASTER LENDING GROUP, LLC,
                                               CHAPTER 7
                Debtor,
                                               CASE NO. 23-40569-EJC



                     NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

TO: Clerk, United States Bankruptcy Court

       PLEASE TAKE NOTICE that Daniel C. Jenkins been retained by Creditor Morris Geffen

in the above-styled case, and hereby appears as the attorney for said defendant and, pursuant to

Rule 2002(g) of the Federal Rules of Bankruptcy Procedure, requests that copies of all papers and

of all notices of the matters arising herein be duly served on the undersigned at the address

hereinunder noted.

       This day, July 12, 2023.


                                                    /s/ Daniel C. Jenkins
                                                    Daniel C. Jenkins
                                                    State Bar No. 142345
                                                    Attorney for Creditor Morris Geffen

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